             Case 1:21-cv-00444-DLF Document 12 Filed 05/24/22 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

EDWARD HASBROUCK,

                 Plaintiff,

   v.
                                                     Case No. 1:21-cv-444 (DLF)
NATIONAL ARCHIVES AND RECORDS
ADMINISTRATION,

                 Defendant.


                                   JOINT STATUS REPORT
        The parties to this Freedom of Information Act (“FOIA”) matter respectfully submit the

following Joint Status Report in response to this Court’s March 22, 2022 Minute Order.

        1.       Relevant background to this case is provided in the parties’ May 13, 2021 Joint

Motion to Stay, ECF No. 6, August 17, 2021 Joint Status Report, ECF No. 7, September 20, 2021

Joint Status Report, ECF No. 8, November 19, 2021 Joint Status Report, ECF No. 9, January 19,

2022 Joint Status Report, ECF No. 10, and March 22, 2022 Joint Status Report, ECF No. 11, and

incorporated here by reference. On May 13, 2021, the parties advised the Court that the parties are

engaged in discussions exploring possible resolution of some or all of the FOIA requests at issue

in this case, and that the parties believe that there is a possibility that through these discussions,

they may be able to resolve some or all of the claims raised in the Complaint. ECF No. 6 at 2.

Accordingly, the parties jointly moved the Court to stay this case while the parties continue

working toward possible resolution of some or all of plaintiff’s claims. Id. On November 19, 2021,

the parties advised the Court that they agreed to participate in non-binding mediation in an effort

to bring about possible resolution of some or all of the FOIA requests at issue in this case, and that

the parties’ first joint mediation session was scheduled for November 22, 2021. ECF No. 9 at 2.

On March 22, 2022, the parties advised the court that following several sessions with a neutral

third-party mediator, plaintiff had identified for the mediator specific policy issues for settlement
              Case 1:21-cv-00444-DLF Document 12 Filed 05/24/22 Page 2 of 3




discussions in the context of the mediation, that the mediator would be sharing with defendant the

substance of plaintiff’s submission to the mediator, and that defendant would, in turn, submit a

response regarding the identified issues. ECF No. 11 at 2. The parties believe that there is a

possibility that, through these efforts, they may be able to resolve some or all of the claims raised

in the Complaint.

         2.       On March 22, 2022, the Court issued an Order staying this case and directing the

parties to “file a joint status report on or before May 24, 2022 indicating whether this case should

continue to be stayed or proposing a schedule for further proceedings.” March 22, 2022 Minute

Order.

         3.       The parties, with counsel, are continuing to engage in non-binding mediation in an

effort to bring about possible resolution of some or all of the FOIA requests at issue in this case.

The parties have participated in several sessions with a neutral third-party mediator, and the

mediator has indicated his intention to hold additional mediation sessions. In furtherance of the

mediation, on May 20, 2022, the mediator shared with defendant a set of specific policy issues

identified by plaintiff for settlement discussions in the context of the mediation. Defendant is

currently considering plaintiff’s submission and is scheduled to meet with the mediator on June 2,

2022 to discuss defendant’s response regarding the identified issues. The parties expect that the
mediator will in turn discuss with plaintiff the substance of defendant’s response, and likely hold

additional mediation sessions to explore the parties’ exchange. The parties hope that, through these

efforts, they may be able to resolve some or all of the claims raised in the Complaint.

         4.       Accordingly, the parties respectfully request that the Court continue its stay of this

case while the parties continue working toward possible resolution of some or all of plaintiff’s

claims. Further, the parties respectfully request that they be permitted to file a joint status report

on or before July 26, 2022, indicating whether this case should continue to be stayed or proposing

a schedule for continuing the litigation.

         Wherefore, good cause having been shown, the parties respectfully request that the Court

continue to stay this case and direct the parties to file a joint status report on or before July 26,


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          Case 1:21-cv-00444-DLF Document 12 Filed 05/24/22 Page 3 of 3




2022 indicating whether this case should continue to be stayed or proposing a schedule for

continuing the litigation.


Dated: May 24, 2022                      Respectfully submitted,

/s/ Kelly B. McClanahan                  BRIAN M. BOYNTON
Kelly B. McClanahan, Esq.                Principal Deputy Assistant Attorney General
D.C. Bar #984704
National Security Counselors             ELIZABETH J. SHAPIRO
4702 Levada Terrace                      Deputy Director
Rockville, MD 20853                      Civil Division, Federal Programs Branch
301-728-5908
240-681-2189 fax                         /s/ Julie Straus Harris
Kel@NationalSecurityLaw.org              JULIE STRAUS HARRIS (DC Bar # 1021928)
                                         Senior Trial Counsel
Counsel for Plaintiff                    United States Department of Justice
                                         Civil Division, Federal Programs Branch
                                         1100 L Street NW, Room 11514
                                         Washington, D.C. 20005
                                         Tel: (202) 353-7633
                                         Fax: (202) 616-8470
                                         E-mail: julie.strausharris@usdoj.gov

                                         Counsel for Defendant




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